Case 8:09-cr-00223-JSM-E_J Document 96 Filed 12/21/09 Page 1 of 6 PageID 194
Case 8:09-cr-00223-JSM-E_J Document 96 Filed 12/21/09 Page 2 of 6 PageID 195
Case 8:09-cr-00223-JSM-E_J Document 96 Filed 12/21/09 Page 3 of 6 PageID 196
Case 8:09-cr-00223-JSM-E_J Document 96 Filed 12/21/09 Page 4 of 6 PageID 197
Case 8:09-cr-00223-JSM-E_J Document 96 Filed 12/21/09 Page 5 of 6 PageID 198
Case 8:09-cr-00223-JSM-E_J Document 96 Filed 12/21/09 Page 6 of 6 PageID 199
